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13
UNITED STATES DISTRICT COURT
14
SOUTHERN DISTRICT OF CALIFORNIA
15
UNITED STATES OF AMERICA, Case No. 23-cr-01661-IO
16
Plaintiff,
17 v. PLEA AGREEMENT
18! cEABORN SHIP MANAGEMENT
19 (SINGAPORE) PTE, LEED: ,
20 Defendant. |
21 IT IS HEREBY AGREED between Plaintiff, UNITED STATES OF AMERICA,
22 |)through its counsel, Randy S. Grossman, United States Attorney, Melanie
23)])K. Pierson, Assistant United States Attorney, Todd Kim, Assistant
24|jAttorney General, and Stephen Da Ponte, Senior Trial Attorney (the
aS “Government”), and Defendant ZEABORN SHIP MANAGEMENT (SINGAPORE) PTE.
26//LTD., with the advice and consent of Joseph A. Walsh II, Esq., counsel
27 ||for Defendant, as follows:
28 || //
Plea Agreement Def. Initials We

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t
1 I
2 THE PLEA
3 1. Defendant agrees to waive Indictment and plead guilty to
4|)Counts 1 and 2 of an Information charging Defendant with:
5
Count 1
6
On or about October 14, 2022, within the navigable waters,
7 internal waters, and ports of the United States in the
Southern District of California, ZEABORN SHIP MANAGEMENT
8 (SINGAPORE) PTE. LTD., Defendant, acting through its agents
and employees, did knowingly fail to maintain an accurate Oil
g Record Book for the Star Maia. Specifically, Defendant
ZEABORN SHIP MANAGEMENT (SINGAPORE) PTE. LTD. maintained and
10 caused to be maintained an Oil Record Book that: (1) failed
to record the discharges of oily bilge water from the Bilge
ae Holding Tank and the Clean Bilge Tank into the ocean; and (2)
erroneously recorded that oily bilge water had been
12 discharged using the OWS when in fact the OWS had not been
used; all in violation of Title 33, United States Code,
LS Section 1908(a); Title 33, Code of Federal Regulations,
Section 151.25; and Title 18 United States Code, Section 2.
14
Count 2
15
On or about October 14, 2022, within the navigable waters,
16 internal waters, and ports of the United States in the
Southern District of California, ZEABORN SHIP MANAGEMENT
Li (SINGAPORE) PTE. LTD., Defendant, acting through its agents
and employees, did knowingly fail to maintain an accurate
18 Garbage Record Book for the Star Maia, that is, Defendant
ZEABORN SHIP MANAGEMENT (SINGAPORE) PTE. LTD. maintained a
19 Garbage Record Book that: 1) failed to record the burning of
garbage in barrels on the vessel’s deck while at sea; and 2)
20 failed to record the disposal of burned garbage and barrels
into the ocean; all in violation of Title 33, United States
21 Code, Section 1908(a), and Title 33, Code of Federal
Regulations, Section 151.55.
22
23 2. Defendant shall be represented by an authorized
24||representative and by counsel (counsel may be the authorized
25 ||representative) and shall appear in open court and plead guilty to the
26 |/two-count Information pending in this case. By entering into this
27 |jagreement, Defendant waives any right to have the facts that the law
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1||makes essential to the punishment either charged in an Indictment,
2|[/proved to a jury, or proven beyond a reasonable doubt.

3 Bs In furtherance of this (or related) prosecution(s) involving
4||the Star Maia, Defendant shall:

5 (a) truthfully and completely disclose all information with
6|j/respect to the activities of the company, its present and former
7|jofficers and employees, and others concerning all matters about which
8 |/the Government inquires of it;

g (b) cooperate fully with the Government and any other law
10 |jenforcement agency designated by the Government;

11 (c) at the request of the Government, use its best efforts
12 |}/promptly to secure the attendance and truthful statements or testimony
13|/of any officers, agents, or employees at any meeting or interview,
14 |/before the grand jury, or at any trial or other court proceedings;

15 (d) use its best efforts promptly to provide the Government,
16 |}upon request, any document, record, or other tangible evidence relating
17 }}to matters or conduct about which the Government or any designated law
18 |}jenforcement agency inquires;

19 (e) bring to the Government’s attention all criminal conduct
20 ||/by or criminal investigations of the company or any of its employees
21]} (to include senior management) that come to the attention of the
22|/company’s senior management, as well as any administrative proceeding
23 |[/or civil action, brought by any United States governmental authority
24|/that alleges violations of U.S. law by Defendant;

25 (f) file no motions, make no statements, nor take any

26 |}/position whatsoever in relation to any motion that the Government may

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1|[file regarding a request or recommendation to the Court for an award to
2|}/be paid to any persons pursuant to 33 U.S.C. § 1908 (a); and
3 (g) not retaliate against any crew member who cooperated
4|/with the investigation and prosecution of this case, to include any
5|[refusal of future employment of a crew member because of the crew
6 |}member’s cooperation.

q 4. Defendant agrees that this agreement will be executed by an
8 |} authorized representative.

gq 5x The parties have previously executed an Agreement on Security
10 |/which provides for, among other things, the maintenance of certain crew
ll }]/members. This Agreement on Security remains in effect until final
12 ||disposition of this matter and related matters as to all signatories to
13|}the Agreement on Security.

14 6. The Government agrees to (1) defer any other charges based on
15]/the same conduct, and (2) not prosecute Defendant thereafter on such
16 |}deferred charges unless Defendant breaches the plea agreement or the
17 |}guilty plea entered pursuant to this plea agreement is set aside for
18 |fany reason. If Defendant breaches this agreement or the guilty plea is

19})set aside, section XII below shall apply.

20 II

21 NATURE OF THE OFFENSE

22 A. ELEMENTS EXPLAINED

23 The offenses to which Defendant is pleading guilty have the

24 ||following elements:
25 1. The Motor Vessel (“MV”) Star Maia was a vessel of 400 or more

26 |/gross tons that was registered in a country other than the United

27 ||States;

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1 2. With respect to the Oil Record Book:

2 (a) ZEABORN SHIP MANAGEMENT (SINGAPORE) PTE. LTD., Defendant

3 corporation, acting through its agents and/or employees, who

4 were acting within the scope of their agency and/or employment

5 and at least in part for the benefit of the corporation, was

6 also a person in charge of machinery space operations for

7 which entries are required to be accurately recorded in the

8 ‘ O11 Record Book;

g (b) On or about the date charged, when the MV Star Maia
10 entered the navigable waters, internal waters, and ports of
11 the United States, and while the vessel remained therein,
12 agents and/or employees of the Defendant corporation, acting
13 within the scope of their agency or employment and at least
14 in part for the benefit of the corporation, failed to maintain
15 an accurate Oil Record Book in which the transfers of oily
16 bilge water and the discharges or disposal otherwise of oily
17 bilge water were recorded as required by U.S. law; and
18 (ce) The Defendant, acting through its agents and/or
19 employees, who were acting within the scope of their agency
20 or employment and at least in part for the benefit of the
21 Defendant corporation, acted knowingly.

22 3. With respect to the Garbage Record Book:

23 (a) ZEABORN SHIP MANAGEMENT (SINGAPORE) PTE. LTD., Defendant
24 corporation, acting through its agents and/or employees, who
25 were acting within the scope of their agency and/or employment
26 and at least in part for the benefit of the corporation, was
2 a person responsible for making full and complete entries in
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1 the vessel’s Garbage Record Book for any garbage discharge or
2 disposal operations;
3 (6b) On or about the date charged, when the MV Star Maia
4 entered the navigable waters, internal waters, and ports of
5 the United States, and while the vessel remained therein,
6 agents and/or employees of the Defendant corporation, acting
7 within the scope of their agency or employment and at least
8 in part for the benefit of the corporation, failed to maintain
g an accurate Garbage Record Book in which the incineration and
10 disposal of garbage were recorded as required by U.S. law;
11 and
12 (c) The Defendant, acting through its agents and/or
13 employees, who were acting within the scope of their agency
14 or employment and at least in part for the benefit of the
15 Defendant corporation, acted knowingly.
16
17 |B. ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS
18 Defendant has fully discussed the facts of this case with defense

19 |/counsel. Defendant has committed each element of the crimes and admits
20 |/that there is a factual basis for this guilty plea. Defendant admits
21|/the following facts and agrees that they are not a complete recitation,
22 |/but merely an outline of what happened in relation to the charge to
23 ||which Defendant is pleading guilty. The following facts are true and

24 |/undisputed:

25 Ls The Defendant. Defendant ZEABORN SHIP MANAGEMENT
26 (SINGAPORE) PTE. LTD. was a company incorporated in Singapore with
27 offices at 1 Maritime Square, #11-03 Harbour Front Centre,
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1 Singapore 099253. At all relevant times, ZEABORN SHIP MANAGEMENT
2 (SINGAPORE) PTE. LTD. served as the operator of the MV Star Maia.
3 Ds The Vessel. The MV Star Maia (International Maritime
4 Organization Number 9189940) was a 29,668 gross ton vessel,
5 registered and operated under the flag state administration of
6 Isle of Man. The MV Star Maia was engaged in international
7 commercial maritime operations transporting cargo to and from San
8 Diego, California, and elsewhere. The MV Star Maia had a Captain,
g also known as the vessel’s “Master,” who was the person in overall
10 charge of the vessel. The Master was responsible for, among other
17. things, the disposal of garbage from the vessel and overall
12 management of the vessel’s garbage waste management plan. In
13 addition to the Master, the MV Star Maia had a “Chief Officer,” a
14 “Second Officer,” and a “Third Officer,” who assisted the Master.
15 The MV Star Maia also had a “Chief Engineer” assigned as the person
16 in charge of the vessel’s engine room, as well as a “Second
17 Engineer,” a “Third Engineer,” and several others who assisted
18 Chief Engineer. These crew members working in the engine room were
19 responsible for, among other things, shipboard control of
20 machinery space waste, to include oily bilge water. In all, there
i were 20 crew members working onboard the MV Star Maia, and all
22 were agents or employees of ZEABORN SHIP MANAGEMENT (SINGAPORE)
23 PTE. LTD., the corporate operator of the MV Star Maia, acting
24 within the scope of their agency or employment with Defendant
25 ZEABORN SHIP MANAGEMENT (SINGAPORE) PTE. LTD. when serving onboard
26 the MV Star Maia.
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1 3.3 The Investigation. Prior to the MV Star Maia’s arrival
2 at the Port of San Diego, the U.S. Coast Guard received a report
3 claiming that crewmembers in the engine room had discharged oily
4 bilge water directly overboard into the ocean, and that garbage
5 had been burned in barrels onboard the vessel.

6 4. When the MV Star Maia arrived at the Port of San Diego
7 on October 14, 2022, the U.S. Coast Guard conducted an inspection
8 of the vessel. During the inspection, the U.S. Coast Guard obtained
g evidence establishing that several overboard discharges of oily
10 bilge water had been conducted without using the required pollution
11 prevention equipment, and that these discharges had not been
12 recorded in the vessel’s Oil Record Book as required by law.
13 Additionally, the U.S. Coast Guard obtained evidence that on
14 several occasions, garbage (including paper, plastics, and oily
15 rags) had been burned in barrels on the deck of the vessel and
16 these barrels had been subsequently thrown into the ocean. None of
7 the garbage burning occurring on deck was recorded in the vessel's
18 Garbage Record Book as required by law. Neither the burning of
19 garbage on deck nor the disposal of barrels overboard at sea were
20 recorded in the vessel's Garbage Record Book as required by law.
21 55 When the Master came onboard the MV Star Maia on May 18,
22 2022, the vessel had recently completed maintenance in drydock,
23 and he noticed an unusual accumulation of garbage. Rather than
24 storing the garbage onboard until it could be offloaded to a
35 reception facility or incinerating it in the vessel’s incinerator,
26 the Master instead directed the crew to burn certain garbage in
27 barrels onboard the vessel. This garbage burning took place on at
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1 least 3 or 4 occasions between June and August 2022. The type of

2 garbage burned included paper, plastics, and oily rags. After the

3 burning was complete, a crew member threw the barrels used to burn

4 the garbage into the ocean.

5 65 On or about August 26, 2022, the Master became aware

6 that oily bilge water from the engine room had been discharged

7 directly overboard and these discharges were not recorded in the

8 vessel’s Oil Record Book. Specifically, in preparation for the MV

g Star Maia’s port call in San Diego, California, the Master
10 instructed the vessel’s Chief Engineer to follow a_ shipboard
11 checklist to inspect the vessel's pollution prevention equipment,
12 to include the Oil Water Separator and Oil Content Monitor (which
13 keeps an electronic record of when the system is operated), and
14 the vessel’s Oil Record Book to ensure there were no discrepancies.
15 This inspection revealed that the Oil Water Separator had not been
16 used since May 2022, despite three entries in the Oil Record Book
17 (June 17, 2022, July 9, 2022, and July 29, 2022) made by the crew
18 claiming that the system had been used. In all, these three Oil
19 Record Book entries falsely recorded a total of approximately 6,762
20 gallons of oily bilge water having been processed through the Oil
21 Water Separator when this oily bilge water had in fact been
29 discharged directly overboard into the ocean.
23 ie The shipboard investigation performed by the Master
24 before the vessel arrived in the U.S. determined that the Second
25, Engineer had been bypassing the vessel's Oil Water Separator and
26 discharging oily bilge water from the bilge water holding tank
27 directly into the ocean by opening valve BL-15 and using the
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1 general service pump. The Master reported this situation to a
2 shoreside Superintendent of Defendant. The Superintendent
3 immediately told the Master to fire the Second Engineer and remove
4 him from the vessel at the next scheduled port call in Panama which
5 was the port before the vessel reached San Diego. The
6 Superintendent also arranged for an auditor to meet the vessel in
7 Panama to assist the crew in preparing for the vessel’s scheduled
8 arrival in San Diego and anticipated U.S. Coast Guard inspection.
g This auditor was a third-party service provider appointed by
10 Defendant.
11 8. On or about September 30, 2022, this third-party auditor
12 attended the MV Star Maia in Balboa, Panama, for a period of
13 approximately three days. The Master asked the auditor if entries
14 should be made to the Oil Record Book to correct the false entries
15 that had been previously made (claiming the Oil Water Separator
16 had been used when it had not). The auditor advised not to make
17 any corrections to the Oil Record Book because he thought the U.S.
18 Coast Guard would not be interested in the discrepancies and
19 instead advised that the discrepancies be reported to the company
20 as non-conformities in accordance with the company’s internal
271 procedures. The Master also asked if the investigation report and
22 explanation of the termination of the Second Engineer should be
23 attached to the Oil Record Book to explain the discrepancies and
24 the auditor advised the Master not to include a letter or make any
25 corrective entries because the U.S. Coast Guard would not be
26 interested in discrepancies going back four months in time.
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‘L 9. After the MV Star Maia departed Balboa, Panama, and was
2 headed to San Diego, California, the Chief Engineer ordered a
3 lower-ranking crew member to discharge oily bilge water from the
4 Clean Bilge tank directly into the ocean using the general service
5 pump, bypassing the Oil Water Separator. This lower-ranking crew
6 member refused to follow this order, so the Chief Engineer directed
7 a second lower-ranking crew member to do it. This second crew
8 member initially refused, but the Chief Engineer told him that he
g (the Chief Engineer) would stand lookout on the deck of the vessel
10 and would radio the crewmember to stop discharging if he saw any
11 visible traces of oil discharge on the surface of the water. The
12 crewmember reluctantly agreed, and approximately 3 cubic meters
13 (approximately 792 gallons) of oily bilge water was then discharged
14 directly into the ocean from the Clean Bilge Tank.
15 10. On or about October 14, 2022, when the MV Star Maia
16 called at the Port of San Diego, California, Defendant, knowingly
17 failed to maintain an accurate Garbage Record Book, in violation
18 of 33 U.S.C. § 1908(a), as the above-mentioned burning of garbage
19 in barrels was not recorded in the Garbage Record Book; and
20 knowingly failed to maintain an accurate Oil Record Book, in
a1 violation of 33 U.S.C. § 1908(a), by maintaining an Oil Record
22 Book that: (1) failed to record the discharges of oily bilge worae
23 from the Bilge Holding Tank and the Clean Bilge Tank into the
24 ocean; and (2) erroneously recorded that oily bilge water had been
25 discharged using the Oil Water Separator when in fact that
26 equipment had not been used. All in violation of Title 33, United
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1 States Code, Section 1908{a); and Title 33, Code of Federal
2 Regulations, Sections 151.25 and 151.55.

3 III

4 PENALTIES

5 The crimes to which Defendant is pleading guilty carry the

6 || following penalties:

7 A. a maximum period of five years of probation per count for an
8 organization;

g B. a fine which is the greater of $500,000 or twice the amount
10 of gross gain or loss per count;

Ti c a mandatory special assessment of $400 per count; and
12 D. an obligation to pay any applicable interest or penalties on
13 fines and restitution not paid at the time of sentencing.
14 IV

15 DEFENDANT’S WAIVER OF TRIAL RIGHTS AND

UNDERSTANDING OF CONSEQUENCES

= This guilty plea waives Defendant’s right at trial to:

i A. Continue to plead not guilty and require the Government to
a prove the elements of the crime beyond a reasonable doubt;
7 B. A speedy and public trial by jury;
ad C.. The assistance of counsel at all stages;

fe D:, Confront and cross-examine adverse witnesses; and
= E. Testify and present evidence and to have witnesses testify on
= behalf of Defendant.
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1 Vv
2 DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
3
Any information establishing the factual innocence of Defendant
4
known to the undersigned prosecutors in this case has or will be turned
5
over to Defendant.
6
If this case proceeded to trial, the Government would be required
4
to provide impeachment information for its witnesses. In addition, if
8
Defendant raised an affirmative defense, the Government would be
g
required to provide information in its possession that supports such a
10
defense. By pleading guilty Defendant will not be provided this
1
information, if any, and Defendant waives any right to this information.
T2
Defendant will not attempt to withdraw the guilty plea or to file a
13
collateral attack based on the existence of this information.
14
VI
15
DEFENDANT’S REPRESENTATION THAT GUILTY
16 PLEA IS KNOWING AND VOLUNTARY
17 Defendant represents that:
18 A. Defendant has had a full opportunity to discuss all the facts
and circumstances of this case with defense counsel and has
19 a clear understanding of the charges and the consequences of
this plea. By pleading guilty, Defendant may be giving up,
20 and rendered ineligible to receive, valuable Government
benefits. The conviction in this case may subject Defendant
21 to various collateral consequences, including but not limited
to revocation of probation in another case; debarment from
ae Government contracting; and suspension or revocation of a
professional license, none of which can serve as grounds to
23 withdraw Defendant’s guilty plea.
24 B. No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this
29 agreement or otherwise disclosed to the Court.
26 G No one has threatened Defendant or Defendant’s agents or
employees to induce this guilty plea.
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D. Defendant is pleading guilty because Defendant is guilty and
1 for no other reason.
2 VII
3 AGREEMENT LIMITED TO U.S. ATTORNEY’S OFFICE
SOUTHERN DISTRICT OF CALIFORNIA & ENVIRONMENT AND NATURAL RESOURCES
4 DIVISION
5 This plea agreement is limited to the United States Attorney's

6|/Office for the Southern District of California and the Environment and
7|/Natural Resources Division of the United States Department of Justice
8 |}and cannot bind any other authorities in any type of matter, although
9||/the Government will bring this plea agreement to the attention of other

10 |/authorities if requested by Defendant.

11 VITI
12 APPLICABILITY OF SENTENCING GUIDELINES
13 This case is governed by the Sentencing Reform Act, as modified by

14 |}United States v. Booker, 543 U.S. 220 (2005), and the Federal Sentencing

15 |/Guidelines, except that the organizational fine calculations for

16 |}fenvironmental offenses are not governed by USSG § 8C2.1.

17 IX

18 SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

19 This plea agreement is made pursuant to Federal Rule of Criminal
20 |) Procedure 11(c) (1) (B). The sentence is within the sole discretion of

21||the sentencing judge who may impose the maximum sentence provided by
22 |)statute. It is uncertain at this time what Defendant’s sentence will
23 ||be. The Government has not made and will not make any representation
24 |/about what sentence Defendant will receive. Any estimate of the probable
25 |/sentence by defense counsel is not a promise and is not binding on the
26}/Court. Any recommendation by the Government at sentencing also is not

27 ||binding on the Court. If the sentencing judge does not follow any of

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l|/the parties’ sentencing recommendations, Defendant will not withdraw

2|/the guilty plea.

3 x

4 PARTIES’ SENTENCING RECOMMENDATIONS

5 Au SENTENCING GUIDELINE CALCULATIONS

6 As stated above, this case is governed by the Sentencing Reform

7|}Act, as modified by United States v. Booker, 543 U.S. 220 (2005), and

8 |[{the Federal Sentencing Guidelines, except that the organizational fine

9]/calculations for environmental offenses are not governed by USSG §

10 }}8c2.1.

Lil B. NO FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING
THOSE UNDER 18 U.S.C. § 3553

12

13 Defendant may not request or recommend additional downward

14 |jadjustments, departures, or variances from the Sentencing Guidelines
15}junder 168 U.S.C. § 3553 unless requested by the Court.

16 Gy “FACTUAL BASIS” AND “RELEVANT CONDUCT” INFORMATION

18] The facts in section II.B of this agreement are true and may be
18 |}considered as “relevant conduct” under USSG § 1B1.3 and as the nature

19 |fand circumstances of the offense under 18 U.S.C. § 3553(a) (1).

20 D. SPECIAL ASSESSMENT/MONETARY PENALTY/RESTITUTION/ FORFEITURE
21 1 Special Assessment
22 The parties will jointly recommend that Defendant pay a special

23 |}assessment in the amount of $400.00 per felony count of conviction for
24|/a total of $800.00, to be paid forthwith at time of sentencing. Special
25}|/assessments shall be paid through the office of the Clerk of the
26 ||District Court by bank or cashier’s check or money order made payable

27 }}to “Clerk, United States District Court.”

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1 2s Monetary Penalty

2 a. The parties will jointly recommend that Defendant pay a monetary
3}/penalty of $2,000,000, consisting of a criminal fine of $1,500,000, and
4|}a community service payment of $500,000. This community service payment
5 ||shall be designated as organizational community service pursuant to 19
6]/U.S.C. § 3563(b) (12) and § 8B1l.3 of the United States Sentencing
7|}Guidelines and in furtherance of satisfying the sentencing principles
8 ||/provided for under 18 U.S.C. § 3553(a). Within 30 days of sentencing,
9|)Defendant shall make the community service payment of $500,000 to the
10 |}National Fish and Wildlife Foundation (“NFWF”) as provided below.

11 b. NFWF is’ a nonprofit organization established by the United
12 ]/States Congress pursuant to 16 U.S.C. §§ 3701-3710. Its purposes include
13|}the acceptance and administration of “property . . . to further the
14 |/conservation and management of fish, wildlife, plants, and other natural
15 |}/resources,” and the performance of “such other activities as will
16 || further the conservation and management of the fish, wildlife, and plant
17 |/resources of the United States, and its territories and possessions for
18 |}|present and future generations of Americans.” 16 U.S.c. § 3/01.) 4) ,
19]] (2).

20 c. NFWF is specifically empowered by Congress to “receive and
21 jjadminister restitution and community service payments, amounts for
22 ||mitigation of impacts to natural resources, and other amounts arising
23||}from legal, regulatory, or administrative proceedings, subject to the
24 ||condition that the amounts are received or administered for purposes
25};/that further the conservation and management of fish, wildlife, plants,

26 |jand other natural resources.” 16 U.S.C. § 3703(c) (1) (K).

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1 d. NFWF is also required by its charter to submit to Congress
2|j/annually a report of its proceedings and activities during such year,
3}/including a full and complete statement of its receipts, expenditures,
4}/and investments. 16 U.S.C. § 3706(a), (b).
5 e. NFWE shall use the community service funds paid by Defendant to
6|}fund projects, activities, or initiatives intended to benefit marine
7{|Jand coastal natural resources located in or around the Tijuana River
8 |/National Estuarine Research Reserve. The types of projects, activities,
g|f/and initiatives to be considered for funding by NFWF should be focused
10]/on, but not necessarily limited to, those intended to: (1) conduct
ll |j/research related to the effects of pollution on the marine estuarine
12 |fenvironment; (2) protect and restore estuarine natural resources and
13|/habitats impacted by current or historic pollution or other human-
14 |}caused disturbance; (3) control invasive plants; (4) monitor, protect,
15 |]}and restore sensitive species; and/or (5) conduct sediment management
16])/for the benefit of marine and coastal ecosystems.
17 f. NFWF shall use best efforts to obligate the community service
18 }/funds to appropriate projects, activities, and initiatives within three
19|/years of the date of entry of Judgment in this case. NFWF shall further
20||/report to the United States Probation Office for the Southern District
21 |Jof California and to the Environment and Natural Resources Division, on
22}|/at least an annual basis, regarding the status and disposition of the
23 |/community service funds it has received pursuant to this Section, until
24}/all such funds have been expended.
25 g. The Defendant shall remit the community service payment to NFWF
26 ||by either certified check or electronic funds transfer. Certified checks

27|}should be delivered to the National Fish and Wildlife Foundation,

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1 |f/attention Chief Financial Officer, 1133 15th Street NW, Suite 1000,
2 ||Washington DC, 20005, and should include a reference to the case number
3}/in this proceeding. Payments via electronic funds transfer should be
4||made in accordance with written wiring instructions provided by NFWF
5|/through its Chief Financial Officer or Senior Vice President, Impact-
6 |}Directed Environmental Accounts, at the time of transfer.

i h. Defendant agrees and stipulates that the $2,000,000 monetary
8 |}/penalty amount is consistent with 18 U.S.C. § 3571 and that it has been
9|)/properly calculated as representing twice the gain to defendant from
10 ||/the offense. Defendant recognizes and agrees that it will not seek to
11 |/have payment of any monies pursuant to this plea agreement treated as
12 |}a tax-deductible donation; nor will Defendant make any public statement
13 ||classifying any payments as voluntary contributions; nor will Defendant
14 |}/seek to gain any benefit in other claims or litigation. The parties
15|}further agree that the entire $1,500,000 fine, $500,000 community
16|}service payment, and the $400 per-count special assessment shall be

17 |/paid within 15 days of sentencing.

18 3. Restitution
19 The parties are not aware of any identifiable victim of the offense

20 |/for which restitution is appropriate, and jointly recommend that no

21 ||/restitution be ordered in this case,

2? 4. Forfeiture
23 Federal law states that Defendant must forfeit to the United States

24|)all property, real and personal, which constitutes or is derived from
25 |jproceeds obtained directly or indirectly from the offense. The parties
26|/are not aware of any property subject to forfeiture in this case, and

27 || jointly recommend that no property of the Defendant be forfeited.

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E. PROBATION

' The parties agree and will recommend to the Court that Defendant
; serve a period of probation of 4 years from the date of execution of
° sentence. During the probationary period, Defendant agrees to fund and
; implement a comprehensive Environmental Compliance Plan (ECP), included
° as Attachment A to this plea agreement. Implementation of the ECP is a
° condition of probation. In the event the Court, in consultation with
: the United States Attorney’s Office for the Southern District of
: California, the Environment and Natural Resources Division of the United
° States Department of Justice, the United States Probation Office, and
2 Defendant, determines that Defendant has failed to either
“ satisfactorily implement the ECP or has violated the terms of the ECP,
the probationary term may be extended for a period to be determined by
io the Court.

14

F. PRE-SENTENCE REPORT

The parties agree to recommend to the Court that the preparation
~ of a Pre-Sentence Report be waived in this case, and that the matter be
= set for sentencing promptly following the plea, as the Court’s schedule
we permits.

19

XI
20
DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK
et Defendant waives (gives up) all rights to appeal and to
0 collaterally attack every aspect of the conviction and sentence. This
= waiver includes, but is not limited to, any argument that the statute
a of conviction or Defendant’s prosecution is unconstitutional and any
a argument that the facts of this case do not constitute the crime
a charged. The only exception is Defendant may collaterally attack the
= conviction or sentence on the basis that Defendant received ineffective
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1 |[assistance of counsel. If Defendant appeals, the Government may support

2|/on appeal the sentence or restitution order actually imposed.

3 XII
4 BREACH OF THE PLEA AGREEMENT
5 Defendant and Defendant's attorney know the terms of this agreement

6|}and shall raise, before the sentencing hearing is complete, any claim
7]/that the Government has not complied with this agreement. Otherwise,

such claims shall be deemed waived (that is, deliberately not raised

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9||despite awareness that the claim could be raised), cannot later be made
10 |/to any court, and if later made to a court, shall constitute a breach
ll fof this agreement.

12 Defendant breaches this agreement if Defendant violates or fails
13 }/to perform any obligation under this agreement. The following are non-

14 |}exhaustive examples of acts constituting a breach:

15 Ls Failing to plead guilty pursuant to this agreement;

16 2. Failing to fully accept responsibility;

17 Sis Failing to appear in court;

18 4. Attempting to withdraw the guilty plea;

19 Bis Failing to abide by any court order related to this case; _
20 6. Appealing (which occurs if a notice of appeal is filed)
21 or collaterally attacking the conviction or sentence in
79 ; violation of Section KI of this plea agreement;

23 7. Engaging in additional criminal conduct from the time of
24 signing this agreement until the time of sentencing.

25 8. Filing any motions, making any statements, or taking any
26 position whatsoever in relation to any motion that the
27 Government may file regarding a request or
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1 recommendation to the Court for an award to be paid to
2 any persons pursuant to 33 U.S.C. § 1908(a).
3 If Defendant breaches this plea agreement, Defendant will not be

4}j/able to enforce any provisions, and the Government will be relieved of
5|[all its obligations under this plea agreement. For example, the
6 |}Government may proceed to sentencing but recommend a different sentence
7|/than what it agreed to recommend above. Or the Government may pursue
8||}any charges including those that were dismissed, promised to be
9|}dismissed, or not filed as a result of this agreement (Defendant agrees
10}]/that any statute of limitations relating to such charges is tolled
ll |j/indefinitely as of the date all parties have signed this agreement;
12 |}Defendant also waives any double jeopardy defense to such charges). In
13 |/addition, the Government may move to set aside Defendant’s guilty plea.
14||Defendant may not withdraw the guilty plea based on the Government's
15 |}/pursuit of remedies for Defendant's breach.
16 Additionally, if Defendant breaches this plea agreement: (i) any
17 || statements made by representatives of Defendant, under oath, at the
18 |}guilty plea hearing (before either a Magistrate Judge or a District
19 }/Judge); (ii) the factual basis statement in Section II.B in this
20 |fagreement; and (iii) any evidence derived from such statements, are
21 |jadmissible against Defendant in any prosecution of, or any action
22 |}against, Defendant. This includes the prosecution of the charges that
23 |jare the subject of this plea agreement or any charge(s) that the
24 ||prosecution agreed to dismiss or not file as part of this agreement,
25|/but later pursues because of a breach by the Defendant. Additionally,
26||Defendant knowingly, voluntarily, and intelligently waives any argument

27 |/that the statements and any evidence derived from the statements should

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1 |[/be suppressed, cannot be used by the Government, or are inadmissible
2|junder the United States Constitution, any statute, Rule 410 of the
3||Federal Rules of Evidence, Rule 1l1(f) of the Federal Rules of Criminal

4}|}Procedure, and any other federal rule.

5 XIII
6 CONTENTS AND MODIFICATION OF AGREEMENT
7 This plea agreement embodies the entire agreement between the

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parties and supersedes any other agreement, written or oral. No
9 |/modification of this plea agreement shall be effective unless in writing

10 |}/signed by all parties.

11 XIV
12 DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT
13 By signing this agreement, Defendant certifies that Defendant and

14]/all relevant members of the defendant organization have read it.
15 |}Defendant and all of the relevant members of the defendant organization
16 |/have discussed the terms of this agreement with defense counsel and

17 |}fully understand its meaning and effect.

18 XV
19 DEFENDANT SATISFIED WITH COUNSEL
20 The members of the defendant organization have consulted with

21 ]}/counsel and are satisfied with counsel’s representation. This is
22 ||Defendant’s independent opinion, and Defendant's counsel did not advise

23 ||/Defendant about what to say in this regard.

24] //
25 1 //
26 || //
27 | //

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RANDY S. GROSSMAN
1 United States Attorney

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Ay HH p73 VQ
3 || DATED MELAN Re K. PIERSON

Assistant U.S. Attorney

3 TODD KIM
Assistant Attorney General
6 Environment & Natural Resources Division

| x Me DiGi
8 wy 0 STEP a TE

Senior Trial Attorney

10|] 1 Guly 2092
f
11 DATED SEPH A. WALSH II
efense Counsel
12

IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
13 || PENALTY OF PERJURY THAT THE FACTS IN SECTION II.B ABOVE ARE TRUE.

4 ob July 2623 My 'hede.

15 || DATED

For Defendant
16 ZEABORN SHIP MANAGEMENT
(SINGAPORE) PTE. LTD.

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